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 7 Counsel for Defendant ROMERO

 8
                                     IN THE UNITED STATES DISTRICT COURT
 9
                               FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11                                         SAN FRANCISCO DIVISION

12
      UNITED STATES OF AMERICA,                            Case No. CR 19-0008 CRB
13
                        Plaintiff,                         DEFENDANT’S SENTENCING
14
                                                           MEMORANDUM
15    v.
                                                           Date: July 10, 2019
16    JOSEPH ROMERO,                                       Time: 10:00 a.m.
                                                           Court: Hon. Charles R. Breyer
17                      Defendant.
18

19                                              INTRODUCTION
20          Without filing any motions or delaying the proceedings, defendant Joseph Romero quickly

21 accepted responsibility for his conduct and pleaded guilty to being a felon in possession of a firearm in

22 violation of 18 U.S.C. § 922(g)(1). He did so pursuant to a plea agreement with the government under

23 Federal Rule of Criminal Procedure 11(c)(1)(C) that calls for a sentence of 18 months in custody to be

24 followed by 12 months of supervised release. This carefully crafted resolution reflects the parties’ joint

25 assessment of the risks of litigation, the guidelines and all of the other factors under 18 U.S.C. §

26 3553(a). Mr. Romero respectfully requests that the Court accept the parties’ agreement and sentence him

27 accordingly.

28
     US v. Romero, Case No. 19-008 CRB;
     Def.’s Sent. Memo.                              1
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 1                                                DISCUSSION

 2          The parties agree that Mr. Romero’ final adjusted offense level is 17 and criminal history

 3 category is VI, resulting in a range of 51-63 months under the advisory guidelines. Pursuant to the plea

 4 agreement, the parties agree that a significant variance is warranted in this case and that a sentence of 18

 5 months is sufficient, but not greater than necessary, to achieve all of the goals of sentencing.

 6          The PSR incorrectly calculates the adjusted offense level as 21 based on its unfounded

 7 conclusion that the four-levels should be added because Mr. Romero was “charged with” a felony drug

 8 offense. Mr. Romero did not plead to that offense, nor was there sufficient evidence of his guilt for that

 9 offense, particularly given the large number of individuals residing in the location where the drugs were
10 found. The plea agreement entered by the parties concludes that the correct adjusted offense level is 17.

11 It is such, not level 21. Regardless, of the correct offense level, Mr. Romero is deserving of an 18 month

12 sentence.

13          Mr. Romero’s life has been marred by violence, neglect and lack of parental guidance and

14 support. This is an appropriate basis for a variance. See, e.g., United States v. Floyd, 945 F.2d 1096,

15 1099 (9th Cir. 1991) (upholding a district court’s downward departure from the sentencing guidelines on

16 the basis of “youthful lack of guidance”). Mr. Romero’s father was never in the picture, and for all

17 intents and purposes, his mother has never been either. He was homeless by the age of 14, sleeping in

18 the laundromat until a friend took him in. The only family he has ever really known are the people he

19 met in his neighborhood and on the streets. While no one’s background can be used as an excuse for the

20 commission of a crime, it is important for the Court to consider Mr. Romero’s life circumstances leading

21 to his arrest.

22          Moreover, Mr. Romero’s experiences have been identified by researchers as carrying long-term

23 effects that require time and treatment to overcome. Adverse Childhood Experiences, or “ACEs,” have

24 been linked to significant increased risks of mental and physical health problems as people age. See

25 generally Adverse Childhood Experiences (ACEs), Centers for Disease Control and Prevention,

26 https://www.cdc.gov/violenceprevention/acestudy/index.html (last updated April 1, 2016). Researchers

27 have identified a list of eight types of childhood trauma, each of which constitutes one “ACE.” See Yael

28 Cannon & Dr. Andrew Hsi, Disrupting the Path from Childhood Trauma to Juvenile Justice: An
     US v. Romero, Case No. 19-008 CRB;
     Def.’s Sent. Memo.                              2
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 1 Upstream Health and Justice Approach, 43 Fordham Urb. L.J. 425, 433 (2016). These trauma types

 2 include parental or caregiver substance abuse and violence directed against a mother. See id. Having

 3 even two of these factors can lead to substantial increases in the likelihood of long-term physical and

 4 mental health challenges. Id. at 435 (“For example, an individual with two ACEs had more than twice

 5 the risk of an individual with one ACE of ever attempting suicide.”).

 6          In addition to these factors, Mr. Romero experienced substantial trauma from the neighborhood

 7 where violence is prevalent and one is looked at as a target if they are not carrying a firearm. The

 8 emergence of these factors early in Mr. Romero’s life has made it substantially harder for him to achieve

 9 and recover. Nonetheless, he is committed to turning his life around and will make every effort to do so.
10          Moreover, the Court should consider the exceptional acceptance of responsibility that Mr.

11 Romero has shown by pleading guilty without filing a very promising motion to suppress or forcing the

12 case to trial. As the Court is well aware, officers need probable cause to believe that an individual is

13 residing at a particular address in order to conduct a probation search there. See United States v.

14 Grandberry, 730 F.3d 968, 976 (9th Cir. 2013). Despite having a very strong motion to suppress, Mr.

15 Romero waived his right to do so and instead pleaded guilty. Additionally, had he lost the motion to

16 suppress, he had a viable defense at trial given that the officers found the gun and drugs not on Mr.

17 Romero’s person and in a location occupied by numerous individuals, including several with criminal

18 records. This Court should take into account Mr. Romero’s extraordinary acceptance of responsibility of

19 responsibility in pleading guilty.

20          Finally, Mr. Romero will be placed on supervision for one year after he is released from custody.

21 He agreed to be subject to a heightened search requirement, which will allow law enforcement to search

22 him at any time of the day or night, with or without reasonable suspicion. He will also be supervised by

23 a United States Probation Officer who can assist him in staying on track and moving forward in a

24 positive direction. His time on supervised release is an important part of his sentence that will help

25 achieve the Court’s goals of deterrence and rehabilitation. The real tale of this case will not be told in the

26 amount of prison time that this Court imposes, but in how Mr. Romero adjusts to supervision and avails

27 himself of the resources of the Probation Department to make sure he succeeds as he matures.

28 ///
     US v. Romero, Case No. 19-008 CRB;
     Def.’s Sent. Memo.                               3
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 1                                                   CONCLUSION

 2          Mr. Romero now stands before the Court with an adult federal felony conviction. Any way you

 3 look at it, this is a travesty: a young man with a difficult past involved in a serious crime and facing a

 4 federal prison term. But this is not the end for Mr. Romero. His youth also means that after his term of

 5 incarceration he will have a long future ahead that can be different and better. He is committed to that,

 6 and hopes the Court agrees this is an opportunity for him to turn his life around. As such, and pursuant

 7 to the plea agreement entered by the parties, he respectfully requests that the Court sentence him to a

 8 term of 18 months in custody followed by one year of supervised release.

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     Dated: July 31, 2019                                 Respectfully submitted,
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                                                          __/S___________________________________
11
                                                          JODI LINKER
12                                                        Assistant Federal Public Defender

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     US v. Romero, Case No. 19-008 CRB;
     Def.’s Sent. Memo.                               4
